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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

CATHOLIC LEGAL IMMIGRATION             )
NETWORK, INC., et al.,                 )
                                       )
    Plaintiffs,                        )
                                       )
    v.                                 )              Civil Action No. 8:20-cv-02042-TDC
                                       )
UNITED STATES CITIZENSHIP AND          )
IMMIGRATION SERVICES, et al.,          )
                                       )
    Defendants.                        )
______________________________________ )

                                     JOINT STATUS REPORT

   In accordance with the parties’ proposal to submit a joint status report on a monthly basis, as

stated in their Joint Motion to Stay All Proceedings filed on September 28, 2020 (ECF No. 18 at

6), the parties, by and through undersigned counsel, hereby file this Joint Status Report, and state

as follows:

       1.       Catholic Legal Immigration Network, Inc., Alianza Americas, and National TPS

Alliance (Plaintiffs) commenced the instant action against the United States Citizenship and

Immigration Services (USCIS), United States Department of Homeland Security (DHS), and

United States Department of State (State), (collectively, Defendants) to compel compliance with

the Freedom of Information Act (FOIA). Specifically, the Complaint seeks responses to three

separate FOIA requests submitted to USCIS (“Request 1”), State (“Request 2”), and DHS

(“Request 3”) respectively. (Compl. ¶¶ 27-40.)

       2.       On December 7, 2020, USCIS produced 370 pages and 93 partially produced

pages from the Service Center Operations component (SCOPS) to Plaintiffs in response to

Request 1. USCIS is presently processing the third production of USCIS pages. Subject to

FOIA exemptions, the third production of USCIS pages is expected to be produced on or about
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January 7, 2021. Per the request of Plaintiffs, the third production will consist of responsive,

non-FOIA exempt documents from the Office of Policy and Strategy component (OP&S).

       3.       State has, thus far, identified approximately 8,500 unclassified documents

potentially responsive to Request 2. State is continuing to collect unclassified potentially

responsive documents. The first production of responsive, non-exempt material, to the extent

any such material is identified, will be made on or before December 17, 2020. While searches

for records on classified systems continue to be inhibited by the ongoing impact of COVID-19

mitigation measures on staffing, State will initiate searches of classified systems promptly upon

the relevant employees re-obtaining access to those systems.

       4.       The parties are continuing to engage in discussions regarding the possible

narrowing or prioritization of Plaintiffs’ FOIA requests.

Dated: December 15, 2020                      Respectfully submitted,

                                              ____/s/______________________
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